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 3
                                      UNITED STATES DISTRICT COURT
 4                                    NORTHERN DISTRICT OF ILLINOIS

 5
     LESLEE R. CARVER, etc.,
 6                                                                    No. 15 CV 2905
                                           Plaintiff,
 7          v.                                                        Judge Harry D. Leinenweber

 8   PRESENCE HEALTH NETWORK, et al.,                                 Magistrate Judge Geraldine Soat Brown
                                          Defendants.
 9

10                             PLAINTIFF’S RESPONSE TO DEFENDANTS’
                               NOTICE OF SUPPLEMENTAL AUTHORITY
11

12           Plaintiff has opposed, as premature, Defendants’ motion to stay these proceedings (ECF
13   23), on the grounds that, in the absence of an answer or responsive pleading, the Court has no
14   record on which to base a decision. Plaintiffs’ Response in Opposition to Defendants’ Motion to
15   Stay Proceedings (ECF 27) at 5-6. Defendants have submitted as supplemental authority (ECF
16   30) a stay order that was entered in Owens v. St. Anthony’s Medical Center, U.S. District Court,
17   N.D. Ill., No. 1:14-cv-04068, after a second motion to dismiss had been fully briefed (following
18   the filing of an amended complaint after an initial motion to dismiss). Unlike this case, the
19   Owens docket discloses active discovery and motion practice (see, e.g., Owens docket at ECF
20   152 (minute entry noting pendency of motions to certify class, to dismiss, and to strike)).
21   Because of this fundamental difference in the posture of the two cases, the Owens stay order
22   does not support a stay in the proceedings before this Court.
23

24   Plaintiff’s Response to Defendants’ Notice of      L AW O F F I C E S O F            L AW O F F I C E S O F
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          Case: 1:15-cv-02905 Document #: 31 Filed: 06/29/15 Page 2 of 3 PageID #:301




 1           DATED June 29, 2015.

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24   Plaintiff’s Response to Defendants’ Notice of   L AW O F F I C E S O F            L AW O F F I C E S O F
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          Case: 1:15-cv-02905 Document #: 31 Filed: 06/29/15 Page 3 of 3 PageID #:302




 1                                          CERTIFICATE OF SERVICE

 2           I, James B. Zouras, one of the attorneys for Plaintiff, certify that on June 29, 2012, a true

 3   copy of the foregoing was served on below counsel via the Court’s ECF System:

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24   Plaintiff’s Response to Defendants’ Notice of   L AW O F F I C E S O F            L AW O F F I C E S O F
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